                             Case 20-11805-MFW                        Doc 1        Filed 07/10/20            Page 1 of 16

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

                                  Delaware
 ____________________ District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                    Check if this is an
                                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               MUJI U.S.A. Limited
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               _2_ _0_ – _5_ _7_ _0_ _2_ _2_ _2_ _9_
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                 Mailing address, if different from principal place
                                                                                                          of business

                                                  250       West 39th Street
                                              ______________________________________________              _______________________________________________
                                              Number     Street                                           Number     Street

                                                  Suite 202
                                              ______________________________________________              _______________________________________________
                                                                                                          P.O. Box

                                                  New York                    NY         10018
                                              ______________________________________________              _______________________________________________
                                              City                        State    ZIP Code               City                      State      ZIP Code


                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                                  New York
                                              ______________________________________________
                                              County                                                      _______________________________________________
                                                                                                          Number     Street

                                                                                                          _______________________________________________

                                                                                                          _______________________________________________
                                                                                                          City                      State      ZIP Code




 5.   Debtor’s website (URL)                      HTTPS://WWW.MUJI.COM/US/
                                              ____________________________________________________________________________________________________




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Debtor        _______________________________________________________
               MUJI U.S.A. Limited                                                            Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                             _4_ _4_ _8_ _1_

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




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Debtor           MUJI U.S.A. Limited
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases         No
       filed by or against the debtor
       within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10.   Are any bankruptcy cases            No
       pending or being filed by a
       business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                     District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have         No
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?
                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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Debtor
               MUJI U.S.A. Limited
              _______________________________________________________                           Case number (if known)_____________________________________
              Name




 13.   Debtor’s estimation of            Check one:
       available funds                    Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                               1,000-5,000                                25,001-50,000
 14.   Estimated number of                50-99                              5,001-10,000                               50,001-100,000
       creditors
                                          100-199                            10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15.   Estimated assets                   $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                            07    10/2020
                                             Executed on _________________
                                                         MM / DD / YYYY


                                            ____ /s/ John Bittner_________________
                                                                                                          John Bittner
                                                                                                          _______________________________________________
                                                                                                          Printed name
                                             Signature of authorized representative of debtor
                                                    Chief Restructuring Officer
                                             Title _________________________________________




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Debtor         MUJI U.S.A. Limited
              _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                           ____________/s/ Dennis A. Meloro_________                Date        07   10 / 2020
                                                                                                                _________________
                                             Signature of attorney for debtor                                   MM    / DD / YYYY



                                            Dennis A. Meloro
                                           _________________________________________________________________________________________________
                                           Printed name
                                            Greenberg Traurig, LLP
                                           _________________________________________________________________________________________________
                                           Firm name
                                           1007        North Orange Street, Suite 1200
                                           _________________________________________________________________________________________________
                                           Number     Street
                                            Wilmington
                                           ____________________________________________________             DE
                                                                                                           ____________  19801
                                                                                                                        ______________________________
                                           City                                                            State        ZIP Code

                                            (302) 661-7000
                                           ____________________________________                             melorod@gtlaw.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address



                                            4435
                                           ______________________________________________________  DE
                                                                                                  ____________
                                           Bar number                                             State




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                             UNANIMOUS WRITTEN CONSENT
                                        OF THE
                                BOARD OF DIRECTORS
                                          OF
                                  MUJI U.S.A. LIMITED

                                     (a Delaware corporation)

                                            July 9, 2020

        The undersigned, being all of the members of the board of directors (the “Board”) of MUJI
U.S.A. Limited, a Delaware corporation (the “Company”), and acting in accordance with Section
141(f) of the General Corporation Law of the State of Delaware (the “DGCL”), do hereby consent
to the adoption of and do hereby adopt the following resolutions by written consent in lieu of a
meeting:

         WHEREAS, the Board has considered presentations by the Company’s management (the
“Management”) and financial and legal advisors (collectively, the “Advisors”) regarding the
liabilities and liquidity of the Company, the strategic alternatives available to it, and the effect of
the foregoing on the Company’s business, and the Board has had the opportunity to consult with
the Company’s Management and Advisors and fully consider each of the strategic alternatives
available to the Company;

        WHEREAS, the Board has determined that it is desirable and in the best interests of the
Company, its creditors, and other parties in interest that the Company be authorized to file or cause
to be filed a voluntary petition for relief (the “Chapter 11 Case”) under the provisions of chapter
11 of title 11 of the United States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”), in the
United States Bankruptcy Court for the District of Delaware or in any other court of competent
jurisdiction (the “Bankruptcy Court”), and any other petition for relief or recognition or other order
that may be necessary, appropriate, or desirable under applicable law in the United States;

       WHEREAS, the Board has determined that it is desirable and in the best interests of the
Company, its creditors, and other parties in interest that the Company retain and appoint
professionals, as necessary, to represent and assist the Company in carrying out its duties under
the Bankruptcy Code, with a view to the successful prosecution of the Chapter 11 Case;

         WHEREAS, the Board previously appointed a chief restructuring officer (the “CRO”) to
assist the Company with the successful prosecution of its Chapter 11 Case; and

     WHEREAS, the Board has determined that it is desirable and in the best interests of the
Company to take the following actions and adopt the following resolutions.

I.     CHAPTER 11 FILING

     NOW, THEREFORE, BE IT RESOLVED, that the CRO and any officer of the
Company (each, an “Authorized Person” and collectively, the “Authorized Persons”), acting alone
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or with one or more other Authorized Persons, be and each of them hereby is, authorized,
empowered, and directed, in the name of and on behalf of the Company, to file or cause to be filed
the Chapter 11 Case under the provisions of the Bankruptcy Code in the Bankruptcy Court;

        FURTHER RESOLVED, that each Authorized Person be, and hereby is, authorized,
empowered, and directed, in the name of and on behalf of the Company, to negotiate, execute,
deliver, file, and record all petitions, schedules, statements, motions, lists, applications, pleadings,
papers, affidavits, declarations, orders, and other documents (collectively, the “Chapter 11
Documents”), and to take any and all action such Authorized Person determines to be necessary,
appropriate, or desirable in connection with the Chapter 11 Case (including, without limitation, to
pay fees, expenses, and taxes and to take any action to maintain the ordinary course operation of
the Company’s business) (any such determination to be conclusively evidenced by the taking of
any such action by such Authorized Person);

II.    RETENTION OF PROFESSIONALS

         FURTHER RESOLVED, that each Authorized Person be, and hereby is, authorized,
empowered, and directed, in the name of and on behalf of the Company, to employ the law firm
of Greenberg Traurig, LLP (“Greenberg Traurig”), as the Company’s counsel, to represent and
assist the Company in carrying out its duties under the Bankruptcy Code and to take any and all
actions to advance the Company’s rights and obligations, including filing any Chapter 11
Documents, and, in connection therewith, each Authorized Person, with power of delegation, is
hereby authorized, empowered, and directed, in the name of and on behalf of the Company, to
execute appropriate retention agreements, pay appropriate retainers, and cause to be filed an
appropriate application for authority to retain Greenberg Traurig, in accordance with applicable
law;
         FURTHER RESOLVED, that each Authorized Person be, and hereby is, authorized,
empowered, and directed, in the name of and on behalf of the Company, to employ the firm of
Mackinac Partners LLC (“Mackinac”), as the Company’s financial advisor, to represent and assist
the Company in carrying out its duties under the Bankruptcy Code, and to take any and all actions
to advance the Company’s rights and obligations, and, in connection therewith, each of the
Authorized Persons is, with power of delegation, hereby authorized, empowered, and directed, in
the name of and on behalf of the Company, to execute appropriate retention agreements, pay
appropriate retainers, and cause to be filed an appropriate application for authority to retain
Mackinac in accordance with applicable law;

         FURTHER RESOLVED, that each Authorized Person be, and hereby is, authorized,
empowered, and directed, in the name of and on behalf of the Company, to employ the firm of B.
Riley Real Estate, LLC (“BRRE”), as the Company’s real property lease consultant, to represent
and assist the Company in carrying out its duties under the Bankruptcy Code, and to take any and
all actions to advance the Company’s rights and obligations, and, in connection therewith, each of
the Authorized Persons is, with power of delegation, hereby authorized, empowered, and directed,
in the name of and on behalf of the Company, to execute appropriate retention agreements, pay
appropriate retainers, and cause to be filed an appropriate application for authority to retain BRRE
in accordance with applicable law;


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        FURTHER RESOLVED, that each Authorized Person be, and hereby is, authorized,
empowered, and directed, in the name of and on behalf of the Company, to employ Donlin, Recano
& Company, Inc., as the claims and noticing agent (the “Claims Agent”), to represent and assist
the Company in carrying out its duties under the Bankruptcy Code, and to take any and all actions
to advance the Company’s rights and obligations, and, in connection therewith, each Authorized
Person, with power of delegation, is hereby authorized, empowered, and directed, in the name of
and on behalf of the Company, to execute appropriate retention agreements, pay appropriate
retainers, and cause to be filed an appropriate application for authority to retain the Claims Agent
in accordance with applicable law;

       FURTHER RESOLVED, that each Authorized Person be, and hereby is, authorized,
empowered, and directed, in the name of and on behalf of the Company, to employ any other
professionals to represent and assist the Company in carrying out its duties under the Bankruptcy
Code, and, in connection therewith, each Authorized Person, with power of delegation, is hereby
authorized, empowered, and directed, in the name of and on behalf of the Company, to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed an appropriate
application for authority to retain the services of any other professionals as such Authorized Person
determines is necessary, appropriate, or desirable (including, without limitation, special counsel to
the extent determined necessary, appropriate, or desirable), (any such determination to be
conclusively evidenced by the taking of any such action by such Authorized Person);

III.   GENERAL

        FURTHER RESOLVED, that each Authorized Person be, and hereby is, authorized,
empowered, and directed, in the name of and on behalf of the Company, to negotiate, execute,
deliver, file, and record any amendments, restatements, supplements, or other modifications to the
Chapter 11 Documents, and all other agreements, documents, and instruments contemplated by
these resolutions which such Authorized Person shall determine are necessary, appropriate, or
desirable (any such determination to be conclusively evidenced by such Authorized Person’s
execution and delivery thereof);

        FURTHER RESOLVED, that in addition to the specific authorizations heretofore
conferred upon each Authorized Person, such Authorized Person (and such Authorized Person’s
designees and delegates) be, and hereby is, authorized, empowered, and directed, in the name of
and on behalf of the Company, to take or cause to be taken any and all such other and further
action, and to negotiate, execute, deliver, file, and record any and all such agreements, documents,
and instruments, and to pay all expenses and fees (including but not limited to filing fees) in each
case as in such Authorized Person’s judgment, shall be necessary, appropriate, or desirable in order
to fully carry out the intent and accomplish the purposes of the foregoing resolutions adopted
herein (any such action to be conclusive evidence that such person deemed the same to meet such
standard);

        FURTHER RESOLVED, that the Board has received sufficient notice of the actions and
transactions relating to the matters contemplated by the foregoing resolutions, as may be required
by the Bylaws of the Corporation and/or the DGCL, or hereby waives any right to have received
such notice;

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        FURTHER RESOLVED, that all acts, actions, and transactions relating to the matters
contemplated by the foregoing resolutions done in the name of and on behalf of the Company,
which acts would have been approved by the foregoing resolutions except that such acts, actions,
or transactions were taken or consummated before the adoption of these resolutions, are hereby in
all respects approved, confirmed, and ratified as the true acts and deeds of the Company with the
same force and effect as if each such act, action, or transaction had been specifically authorized in
advance by resolution of the Board; and

       FURTHER RESOLVED, that this consent may be signed in multiple counterparts each
of which when taken together shall constitute one document.

                                  [Continued on following page]




                                                  4
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    MUJI U.S.A. LIMITED,1                                   Case No. 20-_______

              Debtor.


                               LIST OF EQUITY SECURITY HOLDERS

             The following is a list of MUJI U.S.A. Limited’s equity security holders. This list has been

prepared in accordance with Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure for

filing this chapter 11 case.

    Name and Address of Holder                                                      Percentage

    Ryohin Keikaku Co., Ltd.                                                           100%

    4-26-3 Higashi-Ikebukuro, Toshima-ku
    Tokyo, Japan 170-8424




1
      The last four digits of the Debtor’s federal tax identification number are (2229). The location of the Debtor’s
      principal place of business is 250 West 39th Street, Suite 202, New York, NY 10018.

ACTIVE 50454244v2
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    MUJI U.S.A. LIMITED,1                                   Case No. 20-_______

              Debtor.


      STATEMENT OF CORPORATE OWNERSHIP PURSUANT TO RULES 1007(a)(1)
         AND 7007.1 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

             Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

and to enable the Judges to evaluate possible disqualification or recusal, the above-captioned

debtor and debtor-in-possession (the “Debtor”) hereby discloses that the following corporation,

other than the Debtor or a governmental unit, directly or indirectly owns ten percent (10%) or more

of any class of the Debtor’s equity interests:

             •   Ryohin Keikaku Co., Ltd.




1
      The last four digits of the Debtor’s federal tax identification number are (2229). The location of the Debtor’s
      principal place of business is 250 West 39th Street, Suite 202, New York, NY 10018.
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Fill in this information to identify the case:

Debtor name: MUJI U.S.A. Limited
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 20-_____

                                                                                                                                ¨ Check if this is an
                                                                                                                                        amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims and Are Not Insiders                                                                                                             12/15

A list of creditors holding the 20 Largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
Largest unsecured claims.

    Name of creditor and complete      Name, telephone number,       Nature of the      Indicate if   Amount of unsecured claim
    mailing address, including zip     and email address of creditor claim              claim is      If the claim is fully unsecured, fill in only unsecured
    code                               contact                       (for example,      contingent,   claim amount. If claim is partially secured, fill in
                                                                     trade debts,       unliqui-      total claim amount and deduction for value of
                                                                     bank loans,        dated, or     collateral or setoff to calculate unsecured claim.
                                                                     professional       disputed
                                                                     services, and                    Total claim, if    Deduction for      Unsecured
                                                                     government                       partially          value of           claim
                                                                     contracts)                       secured            collateral or
                                                                                                                         setoff

1   Kent & Wythe Owners LLC            Cynthia Oleago                   Lease             ¨C                                                $273,688.83
    C/O C&C Affordable Management      coleaga@ccmanagers.com
    1735 Park Avenue                   Tel: (212) 348-3248                                ¨U
    Suite 300
    New York NY 10035
                                                                                          þD
2   Westland Garden State Plaza        Mariela Chapina                  Lease             ¨C                                                $262,096.32
    Limited Partnership                mariela.chapina@urw.com
    Attn: Legal Department             Tel: (310) 689-3983                                ¨U
    2049 Century Park East
    41st Floor
                                                                                          þD
    Los Angeles CA 90067

3   EOSII/SB Portland, LLC             Carole Woodruff                  Lease             ¨C                                                $230,969.00
    1001 SW 5th Ave #1100              cwoodruff@sterlingbay.com
    Portland OR 97204                  Tel: (503) 462-1485                                ¨U
                                                                                          þD
4   FC Eighth Ave LLC                  Felicia Mena                     Lease             ¨C                                                $146,289.00
    50 Public Square, Suite 700        fmena@halstead.com
    Cleveland OH 44113-2203            Tel: (216) 416-3062                                ¨U
                                                                                          þD
5   Santa Anita Shoppingtown LP        Mariela Chapina                  Lease             ¨C                                                $120,686.22
    Attn: Legal Department             mariela.chapina@urw.com
    2049 Century Park East             Tel: (310) 689-3983                                ¨U
    41st Floor
    Los Angeles CA 90067
                                                                                          þD
6   The Mapama Corporation             Virginia Parisi
                                       parisi_virana@verizon.net;
                                                                        Lease             ¨C                                                $120,000.00
    545 Broadway
    New York NY 10022
                                       virginiabook@yahoo.com
                                       Tel: (212) 608-1234
                                                                                          ¨U
                                                                                          þD
7   IGS Realty Company                 Natia DiVincenti                 Lease             ¨C                                                $31,332.40
    336 W. 37th St, 12th Fl W.         natiadv@aol.com
    New York NY 10018                  Tel: (212) 563-1098                                ¨U
                                                                                          þD


Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                             Page 1
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Debtor    MUJI U.S.A. Limited                                                                                     Case number (if known) 20-_____

    Name of creditor and complete        Name, telephone number,       Nature of the     Indicate if   Amount of unsecured claim
    mailing address, including zip       and email address of creditor claim             claim is      If the claim is fully unsecured, fill in only unsecured
    code                                 contact                       (for example,     contingent,   claim amount. If claim is partially secured, fill in
                                                                       trade debts,      unliqui-      total claim amount and deduction for value of
                                                                       bank loans,       dated, or     collateral or setoff to calculate unsecured claim.
                                                                       professional      disputed
                                                                       services, and                   Total claim, if    Deduction for      Unsecured
                                                                       government                      partially          value of           claim
                                                                       contracts)                      secured            collateral or
                                                                                                                          setoff

8   Print City Corporation               sales@printcityny.com           Trade             ¨C                                                $29,993.29
    117W 29th Street                     Tel: (212) 487-9778
    New York NY 10001                                                                      ¨U
                                                                                           ¨D
9   Fast Signs                           Catherine Monson                Trade             ¨C                                                $23,809.15
    335 North La Clenega Blvd            570@fastsigns.com
    Los Angeles CA 90048                 Tel: (323) 456-4500                               ¨U
                                                                                           ¨D
10 Mitsubishi Corporation (Americas)     Juan L. Ramirez                 Reimbursement     ¨C                                                $21,036.05
   655 3rd Ave                           Tel: (212) 605-2526
   New York NY 10017                     Fax: (212) 605-2597                               ¨U
                                                                                           ¨D
11 Camron Public Relations Ltd           Tim Monaghan              Trade                   ¨C                                                $13,000.00
   Attn: Lorraine Parker                 Tim.Monaghan@camronpr.com
   270 Lafayette Street                                                                    ¨U
   Suite 600
   New York NY 10012
                                         Tel: (917) 675-4380
                                                                                           ¨D
12 New Horizon Communications            Douglas Fabbricatore            Trade             ¨C                                                $12,779.27
   P.O. Box 981073                       custservice@nhcgrp.com
   Boston MA 02298                       Tel: (781) 290-4600                               ¨U
                                                                                           ¨D
13 Factory Direct Promos                                                 Trade             ¨C                                                $11,391.14
   6490 S Sprinkle Rd                    Tel: (866) 222-0949
   Portage MI 49002                                                                        ¨U
                                                                                           ¨D
14 BKNY Printing                                                         Trade             ¨C                                                $10,594.07
   105 Jamaica Ave                       Tel: (718) 875-4219
   Brooklyn NY 11207                                                                       ¨U
                                                                                           ¨D
15 Los Angeles County Tax Collector      Mark Saladino                   Tax               ¨C                                                $8,964.67
   P.O. Box 514818                       unsecured@ttc.lacounty.gov
   Los Angeles CA 90051-4818             Tel: (213) 974-2111                               ¨U
                                                                                           ¨D
16 Granata Sign Co., LLC                 Ivo Granata                     Trade             ¨C                                                $7,816.87
   80-90 Lincoln Ave                     Ivo@granatasigns.com
   Stamford CT 06902                     Tel: (203) 358-0780                               ¨U
                                         Fax: (203) 358-8049
                                                                                           ¨D
17 Gardaworld                            Christopher Jenkins
                                         christopher.jenkins@garda.com
                                                                         Trade             ¨C                                                $5,310.58
   Garda CL Atlantic, Inc.
   LOCKBOX #233209                       Tel: (877) 287-8889                               ¨U
                                         Fax: (971) 445-1291
   Chicago IL 60689-5332
                                                                                           ¨D
18 Uline                                 Patrick Milne                   Trade             ¨C                                                $4,949.42
   PO Box 88741                          customer.service@uline.com
   Chicago IL 60680-1741                 Tel: (800) 295-5510                               ¨U
                                         Fax: (800) 295-5571
                                                                                           ¨D




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Debtor   MUJI U.S.A. Limited                                                                                Case number (if known) 20-_____

    Name of creditor and complete    Name, telephone number,       Nature of the   Indicate if   Amount of unsecured claim
    mailing address, including zip   and email address of creditor claim           claim is      If the claim is fully unsecured, fill in only unsecured
    code                             contact                       (for example,   contingent,   claim amount. If claim is partially secured, fill in
                                                                   trade debts,    unliqui-      total claim amount and deduction for value of
                                                                   bank loans,     dated, or     collateral or setoff to calculate unsecured claim.
                                                                   professional    disputed
                                                                   services, and                 Total claim, if    Deduction for      Unsecured
                                                                   government                    partially          value of           claim
                                                                   contracts)                    secured            collateral or
                                                                                                                    setoff

19 Cayan                             Mark Porzucek                 Trade             ¨C                                                $4,351.50
   One Federal Street                mporzuczek@cayan.com
   Boston MA 02110                   Tel: (617) 275-7905                             ¨U
                                                                                     ¨D
20 New York State Insurance Fund                                   Tax               ¨C                                                $3,661.46
   Disability Benefits               Tel: (212) 312-9000
   P.O. Box 5239                                                                     ¨U
   New York NY 10008
                                                                                     ¨D




Official Form 204       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                          Page 3
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 Fill in this information to identify the case and this filing:


              MUJI U.S.A. Limited
 Debtor Name __________________________________________________________________
                                                                                Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         x    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         
         x                                               Corporate Ownership Statement and List of Equity Holders
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on _07/10/2020__________                     __/s/ John Bittner______________________________________________________
                           MM / DD / YYYY                      Signature of individual signing on behalf of debtor



                                                                 John Bittner
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Chief Restructuring Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
